 Case: 5:12-cv-00066-JMH Doc #: 11 Filed: 06/05/12 Page: 1 of 1 - Page ID#: 84



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON

JOHN WILSON,                         )
                                     )
     Plaintiff,                      )    Action No. 5:12-cv-66-JMH
                                     )
v.                                   )
                                     )
ASSET ACCEPTANCE, LLC,               )                 JUDGMENT
                                     )
     Defendant.                      )


                         **     **       **      **    **

     In   accordance    with   the       Order    of   even   date   and   entered

contemporaneously herewith, IT IS HEREBY ORDERED:

     1)    That this action be, and the same hereby is, DISMISSED

WITH PREJUDICE AND STRICKEN FROM THE ACTIVE DOCKET;

     2)    That all pending motions be, and the same hereby are,

DENIED AS MOOT;

     3)    That all scheduled proceedings be, and the same hereby

are, CONTINUED GENERALLY; and

     4)    That this Order is FINAL AND APPEALABLE and THERE IS

NO JUST CAUSE FOR DELAY.

     This the 5th day of June, 2012.
